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                                                                                 2022 Aug-10 PM 03:15
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

BLACK WARRIOR RIVER-                      )
KEEPER, INC.,                             )
                                          )
       Plaintiff,                         )   Civil Action Number
                                          )   2:16-CV-01443-AKK
v.                                        )
                                          )
DRUMMOND COMPANY, INC.,                   )
                                          )
       Defendant.                         )

                               CONSENT DECREE

                                    RECITALS

      WHEREAS, on September 1, 2016, after sending notice of the violations alleged

herein and their intent to sue on the Administrator of the U.S. Environmental

Protection Agency, the Regional Administrator of Region 4 of the U.S. Environmental

Protection Agency, the Director of the Alabama Department of Environmental

Management, and Defendant Drummond Company, Inc. (“DCI”), in accordance with

§ 505(b)(1)(A) of the Clean Water Act (“CWA”), 33 U.S.C. § 1365(b)(1)(A), and §

7002(b)(2)(A) of the Resource Conservation and Recovery Act (“RCRA”), 42 U.S.C.

§ 6972(b)(2)(A), Plaintiff Black Warrior Riverkeeper, Inc. (“BWR”) commenced this

action alleging that DCI has violated the CWA and RCRA by discharging acid mine

drainage (“AMD”), sediment, mine waste, and/or other pollutants from DCI’s Maxine

Mine Site (“the Site”) into the Locust Fork of the Black Warrior River and tributaries
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of the Locust Fork;

       WHEREAS, BWR’s Complaint and amendments seek declaratory and

 injunctive relief, the imposition of civil penalties, and the award of costs, including

 attorney’s and expert witness fees;

       WHEREAS, DCI answered the Complaint, including amendments, and

 denied BWR's allegations, asserted numerous defenses, and denied liability and

 BWR's entitlement to the relief, penalties, costs, and fees sought;

       WHEREAS, in May 2019, the Court granted BWR’s motion for partial

 summary judgment “solely as to liability on BWR’s claim that DCI violated CWA

 § 402 by discharging AMD from the refuse pile, ditches, channels, gullies, basins,

 and dams at the site into Locust Fork.” Doc. 93 at 66. In January 2022, the Court

 granted BWR’s motion for partial summary judgment on BWR’s groundwater

 claims under CWA § 402, ruling that “the groundwater discharges carrying AMD

 into the Locust Fork constitute the ‘functional equivalent of a direct discharge’ of

 pollution under the CWA.” Doc. 122 at 28;

       WHEREAS, the Parties recognize, and the Court by entering this Consent

 Decree finds, that the Consent Decree has been negotiated by the Parties in good

 faith and will avoid further litigation between the Parties, and that this Consent

 Decree is fair, reasonable, and in the public interest;

       WHEREAS, pursuant to 33 U.S.C. § 1365(c)(3), this Consent Decree is being

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 forwarded to the United States Department of Justice (“DOJ”) and EPA for the

 statutorily-mandated forty-five-day review period; and

        WHEREAS, the Parties consent to the entry of this Consent Decree without

 trial of any issues;

        NOW, THEREFORE, without this Consent Decree constituting any evidence

 or admission by any party with respect to any issue of fact or law herein, and upon

 consent of the parties hereto, IT IS HEREBY ORDERED, ADJUDGED, AND

 DECREED as follows:

                        I.    JURISDICTION AND VENUE

      The Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331, 33 U.S.C. § 1365(a), and 42 U.S.C. § 6972(a)(1)(B).

      Venue is proper in the Northern District of Alabama pursuant to 28 U.S.C. §

1391(b), 33 U.S.C. § 1365(c)(1), and 42 U.S.C. § 6972(a).

      For purposes of this Decree, or any action to enforce this Decree, the Parties

consent to the Court’s continuing jurisdiction over the Decree.

                              II.   APPLICABILITY

        The provisions of this Decree apply to and are binding on BWR and DCI and

 their successors and/or assigns.

        No transfer of ownership of the Site shall relieve DCI of its obligations to

 ensure that the terms of this Consent Decree are implemented.

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                          III.   INJUNCTIVE RELIEF

      DCI shall achieve “Compliance,” defined as meeting the discharge limits in

paragraph 9 (the “Discharge Limits”) and the other requirements in paragraphs 7,

10, and 24, by whatever scientifically proven and environmentally sound

technologies it chooses, as to discharges from OLC 3, seep 3, and seep 6 at the Site

(as more specifically identified in Exhibit A) by October 15, 2027 (the “Compliance

Date”). Samples collected to monitor compliance with the Discharge Limits shall

be collected at the nearest accessible location just prior to discharge and after final

treatment.

      Compliance requires that the Discharge Limits be met during flow conditions

up to the 90th percentile flow rate (or the equivalent in inches of rain in a 24-hour

period) (“Flow Conditions”) and any flow which bypasses the treatment system(s)

will be mixed with the treated effluent prior to discharge to the receiving waters.

Flow Conditions will be computed from data collected twice per month from

October 15, 2025, to the Compliance Date.

      If DCI applies for any NPDES permit for discharges from the Site, and any

permit is issued, DCI will remain bound by the Discharge Limits and compliance

points for OLC 3, seep 3 and seep 6. DCI will provide prompt and advance notice

to BWR if it intends to alter the site in such a way that will change or alter the

discharge and compliance points for OLC 3, seep 3 and seep 6.                 If those


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compliance/discharge points are changed, the Discharge Limits specified herein will

transfer to and be applicable to the new discharge points and the new discharge

points will become the new compliance points under this Decree.

      The terms of this Decree will control over any effluent limit(s) contained in

any permit which are less stringent, numerically, than the following Discharge

Limits:

     Iron -- 3.0 mg/l daily average/6.0 mg/l daily maximum;

     Manganese -- 2.0 mg/l daily average/4.0 mg/l daily maximum;

     Aluminum--1.0 mg/l daily average/2.0 mg/l daily maximum;

     Total Suspended Solids-- 35.0 mg/l daily average/70.0 mg/l daily maximum;

     pH --daily minimum 6.0 s.u.; daily maximum 8.5 s.u.; and

     Toxicity—Pass/Fail.

      Compliance also requires meeting the water quality standards at Ala. Admin.

Code § 335-6-10-.06, including those requiring lack of floating debris, oil, scum and

other floating materials in the discharge from the site that would interfere directly or

indirectly with any classified water use.

      Compliance must be documented by sampling for the Discharge Limits at

OLC 3, seep 3, and seep 6, or any new discharge/compliance points created by

alteration of the site, which receive flow previously discharged through OLC 3, seep

3 or seep 6, to be conducted by DCI and submitted to a certified, independent


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laboratory for analysis. This sampling will begin immediately upon entry of this

Decree and the frequency will be twice per month, on the first and third Wednesday,

for all Discharge Limits at the agreed sampling locations/compliance points. DCI

will take date and location-stamped photographs of the effluent and sampling

location for each sample and shall maintain the chain of custody forms for all

samples submitted to the independent laboratory.

      DCI will also conduct whole effluent toxicity (WET) tests for acute and

chronic toxicity, pursuant to U.S. EPA methods (EPA 2002 Short-term Methods for

Estimating the Chronic Toxicity of Effluents and Receiving Waters to Freshwater

Organisms), at the same compliance points described in paragraph 11, once per

month for the same sampling locations. If the results of any WET test are a “fail,”

DCI will have the right to make a re-test to determine whether there was a cause for

the result other than toxicity, but such re-testing can only be conducted once and

must be conducted within 3 days of the “fail” result.

      DCI will sample at the compliance points described in paragraph 11 once per

month on the first Wednesday for the following metals: arsenic, cadmium, copper,

lead, nickel, selenium, chromium, mercury, thallium, and zinc. If a NPDES permit

is issued, this sampling requirement will terminate. In the event no NPDES permit

is issued, DCI may request that this sampling requirement be terminated after all

treatment systems for the site are in operation and effluent has been sampled for a


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12-month period and the sampling does not indicate elevated levels of the above-

listed metals.

       DCI will also sample at the compliance points described in paragraph 11 once

per month on the first Wednesday for five-day biological oxygen demand (BOD5),

chemical oxygen demand (COD), dissolved oxygen, conductivity, sulfate, total

dissolved solids, nitrate, nitrogen, phosphorus, chloride, and sodium. DCI may

request that this sampling requirement be terminated after all treatment systems for

the site are in operation and effluent has been sampled for a 12-month period and

the sampling does not indicate elevated levels of any of the parameters listed in this

paragraph.

       After every three months of sampling and data collection pursuant to

paragraphs 11-14, BWR shall have the right to exercise an option to request a

meeting with DCI if BWR in good faith has a concern with one or more of the

sampling results. The parties will then meet and work in good faith to seek a

mutually agreeable solution to satisfy BWR’s concerns.

       DCI shall provide a quarterly report to BWR of all sampling activity and

results.

       Milestone 1. Within 24 months of the date of entry of this Decree, DCI will

design, locate, and install a cutoff wall (or other physical method) in the vicinity of

MW-21 or MW-22 to redirect the groundwater where it can be treated or otherwise

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resolved to meet discharge criteria.

      If DCI fails to reach Milestone 1, it will incur a time extension payment in the

amount of $500 per day for each day the milestone is not met, to be paid quarterly

to the SEP recipient in paragraph 30.

      Milestone 2. After installation of the groundwater redirection system in

paragraph 17, monitoring of the flow and concentration data from groundwater

intercepted will be used to develop a “basis of design” report for a source control

and/or passive treatment system for OLC 3 and seep 3 that will be provided to BWR

by 36 months from the date of entry of this Decree, and which system will be in

operation by the Compliance Date.

      If DCI fails to reach Milestone 2, it will incur a time extension payment in the

amount of $500 per day for each day the milestone is not met, to be paid quarterly

to the SEP recipient in paragraph 30.

      Milestone 3. On or before 24 months from the date of entry of this Decree,

DCI will complete all bench, pilot, and field testing needed for technologies it

intends to use to remediate discharges at seeps 1, 2 and 6, and will provide a “basis

of design” report to BWR, along with data and test results, for a source control and/or

passive treatment system for seep 6 that will be operational by 48 months from the

date of entry of this Decree. DCI will endeavor to direct the flow from seeps 1 and

2 to the seep 6 system, but if such redirection is not physically or feasibly attainable,

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DCI shall include in its basis of design report any alternate remediation methods DCI

intends to employ at seeps 1 and 2.

      If DCI fails to meet Milestone 3, it will incur a time extension payment in the

amount of $500 per day for each day this milestone is not met, to be paid quarterly

to the SEP recipient in paragraph 30. In no event shall DCI pay more than $500 a

day for failure to meet any milestone(s).

      DCI will send BWR a quarterly report of all site activity and remediation

activities until remediation work is completed. DCI will give site access to BWR

and/or its consultants, on a regular monthly schedule during the remediation stage,

to verify and document the work and, if necessary, conduct its own sampling.

       Compliance will also require that DCI meet the Discharge Limits in

paragraph 9 (or for toxicity, achieve “pass”) on the regularly scheduled sampling

dates after the Compliance Date. If sampling indicates that discharges from OLC 3,

seep 3, and seep 6 are not in compliance on any regularly scheduled date after the

Compliance Date, DCI will have the right to immediately conduct additional

sampling but will pay $1750 per day for each day that the discharge is out of

Compliance, to be paid on a quarterly basis to the SEP recipient named in paragraph

30. The $1750 per day payment will run from the date of receipt of the lab results

indicating non-Compliance until lab results demonstrating Compliance are obtained.

      If Compliance is reached by the Compliance Date or earlier, DCI will provide

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written notice of Compliance to BWR within 30 days and as part of the notice will

submit to BWR a detailed report documenting all remedial measures which have

been implemented to achieve Compliance, along with complete drawings or design

documents, if requested, detailing such remedial measures. DCI will also allow site

access to BWR and its consultants at that point to verify the work, and BWR may

conduct its own sampling of discharges.

      If DCI reaches Compliance by use of bactericides and passive treatment or

any technology or means other than excavation and removal of the mine

wastes/GOB pile or complete neutralization of the AMD-producing mine wastes,

then DCI will document the capital and operating costs of the remedial measures it

has implemented and will provide a long-term Operations and Maintenance Plan

(“O&M Plan”) which describes the anticipated maintenance of the passive system

for its life, the cost of such operation and maintenance, and an identification of who

will administer the O&M Plan. In addition, DCI will provide financial assurance to

fund the O&M Plan for a period of 30 years in the form of an escrow account, bond,

letter of credit, or other reasonably comparable or equivalent financial assurance.

After 30 years, the O&M plan will be evaluated to assess performance, maintenance,

and future funding requirements. DCI commits itself and its successors, assigns, or

contractors working on its behalf, to complying with the O&M Plan and to following

the funding mechanism required under this Decree.


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       If DCI reaches Compliance by use of bactericides and passive treatment or

any technology or means other than excavation and removal or complete

neutralization, DCI shall sample for the parameters iron, manganese, aluminum,

total suspended solids, and pH at seep 3, seep 6, and OLC 3, or other

discharge/compliance points created to replace those discharge/compliance points

by altering the site, to ensure ongoing compliance with the discharge limits as to

those parameters. This sampling shall be conducted once a month, on the first

Wednesday of each month or as close to that date as possible if weather or site

conditions require delaying sampling to the next available date, and the monthly

sampling reports shall be provided to BWR quarterly. Upon request and 5-days’

notice, BWR shall be entitled to attend the sampling and take split samples.

      If DCI is unable to reach Compliance by use of bactericides and passive

treatment or any technology or other means not involving excavation by October 15,

2027, then DCI will be charged time extension payments, calculated at $1750 per

day starting on the first day following the Compliance Date until it reaches

Compliance, payable quarterly to the SEP recipient in paragraph 30. The time

extension payment amount of $500 for failure to meet a milestone and $1750 for

failure to reach Compliance are not cumulative on a daily basis. In no event shall

DCI pay more than $1750 a day in time extension payments. If there is any dispute

regarding whether DCI is continuing to pursue Compliance after the Compliance

Date, such dispute will be subject to the Dispute Resolution provisions in Part X of
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 this Decree.

                             IV.   CIVIL PENALTIES

        Within 30 days of the entry of this Decree, DCI shall pay $10,000 as a civil

 penalty to the U.S. Treasury for the Clean Water Act violations cited by the Court in

 its rulings. That payment shall be made by check or money order to the United States

 Treasury and should be sent to the following address:

                Alicia Kolaian
                Litigation Support Specialist
                Environment & Natural Resources Division
                Office of Litigation Support
                P.O. Box 7611
                Ben Franklin Station
                Washington, DC 20044-7611

The check or money order shall reference Black Warrior Riverkeeper v. Drummond

Company, Civil No. 2:16-cv-01443-AKK, and payment shall be considered paid upon

mailing or direct delivery to the specified address. A copy of the check or money order

and cover letter shall be sent to BWR at the time payment is made and shall state that

the payment is being made pursuant to this Decree.

          V.       SUPPLEMENTAL ENVIRONMENTAL PROJECTS

       Within 30 days of entry of this Decree, DCI shall fund a supplemental

 environmental project (SEP) in the amount of $1,000,000 to be provided to the

 recipient Freshwater Land Trust. The SEP will address an area or areas of concern

 within the Locust Fork watershed, with SEP projects to be decided upon by


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Freshwater Land Trust after consultation with BWR. Alternatively, DCI may elect

to donate to Freshwater Land Trust all or a portion of a property it owns at the

confluence of the Locust and Mulberry forks of the Black Warrior River, located at

33°33´56´´N, 87°11´27.9´´W, that is valued at $1,000,000 or more. This property is

of unique conservation value because it is a forested waterfront peninsula at the

confluence of the Mulberry and Locust forks where they form the Black Warrior

River, so this is an important location geographically within the watershed. Its

preservation and protection would also enhance water quality in a sensitive part of

the Black Warrior River watershed, since its conservation would prevent it from

being mined, logged or developed. There are also water quality, wildlife habitat,

and conservation values inherent to preserved property. Drummond may also

identify and offer to donate other property it owns in the Black Warrior River

watershed with similar high conservation value, which offer must be mutually

agreed upon by DCI, BWR, and Freshwater Land Trust. If DCI elects the land

donation option, and if BWR and Freshwater Land Trust agree to accept the donation

of property in lieu of cash, the conservation property will be appraised by a licensed

appraiser and if the appraised value is less than $1,000,000, then DCI will pay the

difference between the appraised value and $1,000,000 to the SEP recipient after

donation of the property.

                    VI.     ATTORNEYS’ FEES AND COSTS

      Within 30 days of entry of this Decree, DCI will pay the amount of $2,000,000
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for BWR’s attorney’s fees, $650,334.54 for Southern Environmental Law Center’s

(SELC’s) expert and consultant expenses, and $6,900 for Public Justice’s litigation

expenses. DCI shall remit these amounts by check made payable to the Southern

Environmental Law Center (SELC,) which shall be wholly responsible for the proper

distribution of any portions of the delivered sums to any and all attorneys, experts,

or other entities who may be entitled thereto.

       The amounts set forth in paragraph 31 above shall be a complete settlement

of BWR’s claims for costs and fees incurred in this case, and the sum shall be the

total costs and fees up to date of lodging of this Decree.

      BWR does not waive, and expressly reserves, the right to move for additional

fees and costs incurred by BWR after the entry of this Decree to seek and obtain the

Court’s enforcement of the terms of this Decree. Likewise, DCI does not waive, and

expressly reserves, the right to oppose such motions for additional fees and costs.

       VII. EFFECT OF SETTLEMENT, RELEASES BY BWR, AND
                 RESERVATION OF RIGHTS BY THE PARTIES

      This Decree resolves the civil claims of BWR as alleged in the Complaint, as

amended [Docs. 1, 12, and 24], through the Effective Date (as defined herein).

      In exchange for DCI’s agreement to and compliance with the terms of this

settlement of a contested matter, to which DCI agrees without admission of any fact

or of any wrongdoing or liability, BWR hereby releases and forever discharges DCI

and its shareholders; any divisions, subsidiaries, affiliates, or related entities and
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persons, including officers, directors, and shareholders; any partners, predecessors,

successors, representatives, insurers, assignees, agents, employees, attorneys,

executors, administrators, and heirs; and any and all persons acting by, through, or

in any way on behalf of DCI of and from any and all claims alleged by BWR in the

complaint, as amended, as well as from any violations that may have occurred prior

to the Effective Date (as defined herein) of this Decree.

                             VIII. EFFECTIVE DATE

      This Decree shall become effective on the date of its entry by the Court

following any required time period for notification and consideration by the United

States (the “Effective Date”).

                             IX.   FORCE MAJEURE

      “Force Majeure,” for purposes of this Decree, is defined as any event arising

from causes beyond the control of DCI or of DCI’s consultants and/or contractors

that delays or prevents the performance of any obligation under this Decree despite

DCI’s best, good faith efforts to fulfill the obligation. The requirement that DCI

exercise “best efforts to fulfill the obligation” includes using best efforts to address

the effects of any such event (a) as it is occurring and (b) after it has occurred to

prevent or minimize any resulting delay to the greatest extent possible. “Force

Majeure” does not include DCI’s financial inability to perform any obligation under

this Decree. If a delay or anticipated delay is attributable to a Force Majeure event,

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the time for performance of the obligations under this Decree that are affected by the

Force Majeure event will be only extended for the length of such delay. An extension

of the time for performance of the obligations affected by the Force Majeure event

shall not, of itself, extend the time for performance of any other independent

obligation.

      The actions or inaction of any regulatory authority in reviewing and granting

any permit for which application has timely been made by DCI are beyond DCI's

control.

      DCI shall have the burden of demonstrating that a Force Majeure event

occurred and that it used its best, good faith efforts to comply with the Decree.

                             X.    DISPUTE RESOLUTION

      Unless otherwise expressly provided for in this Decree, the dispute

resolution procedures of this section shall be the exclusive mechanism to resolve

disputes arising under or with respect to this Decree regarding Part III of this Decree.

Either Party’s failure to seek resolution of a dispute under this section shall preclude

the Party from raising any such issue to enforce any obligation of the other Party

arising under this Decree.

      (1)     Informal Dispute Resolution.       Any dispute subject to Dispute

Resolution under this Decree shall first be the subject of informal negotiations

between the Parties. A dispute shall be considered to have arisen when a Party sends

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the other Party a written Notice of Dispute. Such Notice of Dispute shall state clearly

the matter in dispute. The period of informal negotiations shall not exceed 14 days

from service of the Notice of Dispute unless that period is modified by written

agreement. If the Parties cannot resolve a dispute by informal negotiations, then

either Party or both Parties may invoke formal dispute resolution procedures with

the Court.

      (2)    Formal Dispute Resolution. Either party may invoke formal dispute

resolution procedures with the Court, within the time period provided in the

preceding paragraph, by filing a written Statement of Position regarding the matter

in dispute. The initiating party’s Statement of Position shall include, but need not be

limited to, any factual data, analysis, or opinion supporting the filing party’s position

and any supporting documentation. The other party shall file its Statement of

Position within 21 days of its receipt of the initiating Party’s Statement of Position.

This party’s Statement of Position shall include, but need not be limited to, any

factual data, analysis, or opinion supporting that position and any supporting

documentation. The initiating party may, but is not required to, submit a reply within

7 days thereafter.

      (3)    In invoking formal dispute resolution, the Parties are seeking judicial

determination of the dispute. Except as otherwise provided in this Decree, in any

dispute initiated for formal dispute resolution, the initiating party shall bear the

burden of demonstrating that its position is correct and complies with this Decree.
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The Court shall determine, in its discretion, whether to hold a hearing to take

testimony from witnesses on any issue or whether to resolve the dispute on the

papers, including any declarations, submitted. The Court may also elect to refer any

dispute to a magistrate judge for determination by hearing or on the papers through

a report and recommendation.

      (4)     The invocation of dispute resolution procedures under this section shall

not, by itself, extend, postpone, or affect in any way any obligation of DCI under

this Decree, unless and until final resolution of the dispute so provides.

            XI.   INFORMATION COLLECTION AND RETENTION

      DCI will provide BWR with monthly reports of actions taken and completed

pursuant to Part III of this Decree, including any sampling and/or other data

developed and tabulated and any other documentary evidence, including, but not

limited to, photographs and video of remediation work. This Decree in no way limits

or affects any duty or obligation of DCI to maintain documents, records, or other

information imposed by state or federal laws, regulations, or permits.

      DCI will provide BWR with access to the Property at a mutually agreeable

date and time at regular intervals of not to exceed once per quarter to inspect the

work performed pursuant to Part III of this Decree. This Decree in no way limits or

affects any duty or obligation of DCI to provide access to the Property for properly

credentialed agents and employees of state or federal governmental agencies in


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accordance with state or federal laws, regulations, or permits.

                XII. REGULATORY APPROVALS/PERMITS

      This Decree in no way affects or relieves DCI of its responsibility to comply

with federal, state, and local laws, regulations, and applicable permits. DCI shall

perform the work required by the Decree in compliance with the requirements of all

applicable federal, state, and local laws, regulations, and any applicable permits. This

Decree shall not, in and of itself, be considered a permit issued pursuant to any state,

federal, or local statute, regulation, or ordinance. Where any compliance obligation

under this section requires DCI to obtain a federal, state, or local permit or approval,

DCI shall timely request such approval, submit substantially complete permit

applications, and take all other actions necessary to obtain any such approvals or

permits, but shall not be deemed non-compliant or in violation of this Decree or

otherwise penalized for any delay in the review and/or issuance of any permit by any

regulatory authority.

                             XIII. COSTS OF WORK

      DCI shall bear all costs associated with the investigation, development,

planning, design, construction, and implementation of all of the work elements of

the injunctive relief prescribed in this Decree.

          XIV. BWR AGREEMENT TO HONOR PROPERTY BOUNDARIES

      BWR acknowledges that the Property is located on property owned by DCI


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and that neither BWR nor its members have any right to cross the boundaries of the

Property for any reason without the express and specific permission of DCI, as

owner of the Property. BWR, for itself and for its employees, agents and attorneys,

agrees that it will not enter the Property—with entry defined as crossing a boundary

of the Property—for any reason without express written permission of a duly

authorized person extending such permission on behalf of DCI. Pursuant to Part XI,

above, DCI has agreed to provide BWR such access as is reasonably necessary for

the Parties’ to fulfill the terms of this Decree.

            XV. RETENTION OF JURISDICTION AND TERMINATION OF
                              DECREE

      The Court shall retain jurisdiction for the purposes of modifying or enforcing

this Decree and of adjudicating any disputes between the Parties that may arise under

this Decree until termination of this Decree.

                               XVI. TERMINATION

       After DCI has completed all requirements and made all payments due under

Parts III, IV, V, and VI, and maintained Compliance (as defined above) for a period

of five years, either Party may file a Motion for Termination of this Decree (“Motion

for Termination”); provided, however, that the bond requirement in paragraph 26

shall continue regardless of the termination and shall remain an enforceable

requirement subject to the jurisdiction of the Court.

       Any such Motion for Termination shall state that DCI has satisfied each of
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the stated requirements and shall include all necessary supporting documentation.

       Following the filing by either Party of a Motion for Termination, the Parties

shall confer informally concerning the Motion and any disagreement that the Parties

may have as to whether DCI is in Compliance. If both sides agree that the Decree

may be terminated, the parties shall submit, for the Court's approval, a joint

stipulation terminating all requirements of the Decree.

       Notwithstanding paragraphs 47-49 above, either party shall have the right to

request termination of this Decree for noncompliance or other good cause shown on

or after ten (10) years from entry of this Decree by filing a Motion for Termination

                XVII. INTEGRATION AND SEVERABILITY

      This Decree constitutes the final, complete, and exclusive agreement and

understanding among the Parties with respect to the settlement embodied in the

Decree and supersedes all prior agreements and understandings, whether oral or

written, concerning this agreement. Other than documents that are subsequently

provided pursuant to this Decree in conjunction with Part III, no other document nor

any representation, inducement, agreement, understanding, or promise constitutes

any part of this Decree or the settlement it represents, nor shall it be used in

construing the terms of this Decree.

      The provisions of this Decree shall be severable. If any provisions are

declared by a court of competent jurisdiction to be unenforceable, the remaining

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provisions shall nevertheless remain in full force and effect.

                               XVIII. MODIFICATION

         The terms of this Decree may be modified only by a subsequent written

agreement signed by all Parties. Where the modification constitutes a material

change to the Decree, such modification shall be effective only upon approval by the

Court.

         Any disputes concerning modification of this Decree shall be resolved

pursuant to Part X; provided, however, that instead of the burden of proof required

for dispute resolution, the Party seeking the modification bears the burden of

demonstrating that it is entitled to the requested modification in accordance with

Federal Rule of Civil Procedure 60(b).

                 XIX. LODGING AND APPROVAL OF DECREE

         Pursuant to § 505(c)(3) of the CWA, 33 U.S.C. § 1365(b)(3), this Decree will

be lodged with the Court and presented to the United States for its review for a period

of forty-five (45) days. After the statutory period expires, this Decree may be entered

by the Court as a final judgment of the Court. If this Decree is not entered by the

Court, the Parties shall retain all rights they had in this litigation before lodging of this

Decree. In the event the United States proposes modifications to this Decree, the

Parties agree to confer and undertake good faith efforts to resolve any disputes that

may arise out of the proposed modifications by the United States of the Decree;


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however, the Parties reserve and shall retain all rights to object to any modification

proposed by the United States, ADEM, or any other person or entity, whether during

the comment period or otherwise.

        XX. NOTICES, SUBMISSIONS, AND COMMUNICATIONS

      Except as otherwise specified, when BWR or DCI transmits any written

notification, submission, or communication required by the terms of this Decree, the

notification, submission, or communication shall be addressed as follows both to the

stated physical address and the email address of counsel as follows:

            To BWR:

            Eva Dillard, Esq. Staff Attorney
            Black Warrior Riverkeeper, Inc.
            712 37th Street South
            Birmingham, Alabama 35222-3206
            edillard@blackwarriorriver.org

            With a copy to:

            Barry Brock, Esq.
            Southern Environmental Law Center
            2829 Second Avenue South
            Suite 282
            Birmingham, Alabama 35233
            bbrock@selcal.org




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            To DCI:

            Blake D. Andrews, Esq.
            Vice President and General Counsel
            Drummond Company, Inc.
            P.O. Box 10246
            Birmingham, Alabama 35202
            Bandrews@drummondco.com

            With a copy to:

            Richard E. Davis, Esq.
            H. Thomas Wells, III, Esq.
            Starnes Davis Florie LLP
            100 Brookwood Place, 7th Floor
            Birmingham, Alabama 35209
            rdavis@starneslaw.com
            twells@starneslaw.com.


      BWR and DCI agree to accept service by U.S. Mail and email with respect to

all matters arising under or relating to this Decree and to waive any formal service

requirements set forth in Rules 4 and 5 of the Federal Rules of Civil Procedure and

any applicable local rules of the Court.

      The Parties shall immediately notify one another of any change of designated

recipients and/or any change of address, whether of physical or email address.

                           XXI.            SIGNATORIES

      The undersigned representatives of the Parties certify that they are fully

authorized to enter into the terms and conditions of this Decree and to execute and

legally bind such party to this document.


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                    XXII. EXECUTION IN COUNTERPARTS

       This Decree may be executed in counterparts, each of which shall be deemed

 to be an original, but all of which, taken together, shall constitute one and the same

 agreement.

      DONE the 10th day of August, 2022.


                                        _________________________________
                                                 ABDUL K. KALLON
                                          UNITED STATES DISTRICT JUDGE

FOR PLAINTIFF BLACK WARRIOR RIVERKEEPER, INC.




Charles Scribner, Executive Director
Black Warrior BWR, Inc.
712 37th Street South
Birmingham, Alabama 35222-3206
(205) 458-0095

Approved as to form:



Eva L. Dillard, Staff Attorney ASB-4118-
A59E
Black Warrior BWR, Inc.
712 37th Street South
Birmingham, Alabama 35222-3206
(205) 458-0095

Attorney for Black Warrior Riverkeeper, Inc.
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Barry Brock ASB-9137-B61B
Southern Environmental Law Center
2829 Second Avenue South
Suite 282
Birmingham, Alabama 35233
(205) 745-3060

Attorney for Black Warrior Riverkeeper, Inc.

FOR DEFENDANT DRUMMOND COMPANY,
INC.

Drummond Company, Inc.




By:
      Blake D. Andrews
      Vice President and General Counsel


Approved as to form:




100 Brookwood Place, 7th Floor
Birmingham, Alabama 35209
(205) 868-6000

Attorney for Drummond Company, Inc.



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